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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )                CASE NO. 8:09CR382
                                              )
                        Plaintiff,            )
                                              )
        vs.                                   )                       ORDER
                                              )
JAMES E. GIBSON,                              )
                                              )
                        Defendant.            )


        THIS MATTER came before the Court on the motion by Defendant for an order of release
to enter treatment. The Court, being advised that the government and the United States Probation
Office are in agreement with the motion, finds that the same should, and hereby is, granted.
        IT IS ORDERED as follows:
        Defendant shall be released from CH, Inc. In Council Bluffs, Iowa on March 5, 2013, at
10:00 a.m. for transportation to Williams Preferred Place by 11:00 a.m. He shall be transported by
his counsel, Michael D. Nelson. Defendant shall observe the rules of that facility and shall remain
in the program until further direction from the Court or the Probation Officer.
        Defendant shall be released from custody on the condition that he immediately enter such
program and remain in and follow all of the requirements of such program.
        Defendant shall execute all necessary release forms to allow his Probation Officer to
communicate with the Defendant’s counselors and mental health therapists affiliated with Williams
Prefered Place.
        Defendant shall comply with all subsequent recommendations for any additional treatment
or aftercare following completion of the program.
        Defendant shall comply with all previously ordered conditions of supervised release.
        Should Defendant be discharged from the program for any reason, or otherwise violate any
condition or this order, or the previously set conditions of supervised release, then a warrant shall
issue for his arrest.
        IT IS SO ORDERED.
        Dated this 1st day of March, 2013.


                                              BY THE COURT:
                                              s/ Joseph F. Bataillon
                                              United States District Judge
